        Case 3:16-cv-00041-SDD-EWD Document 46             05/19/17 Page 1 of 9



                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA

TERESA BUCHANAN                                           CIVIL ACTION

VERSUS                                                    NO. 16- 41-SDD-EWD

F. KING ALEXANDER, ET AL

       REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR
     JUDGMENT ON THE PLEADINGS AND MOTION FOR SUMMARY JUDGMENT

       F. King Alexander, Damon Andrew, A.G. Monaco and Gaston Reinoso

(collectively “Defendants”), in their personal and official capacities, reply to the

opposition to their Motion for Judgment on the Pleadings (Doc. 26) and alternative

Motion for Summary Judgment (Doc. 30) presented by Teresa Buchanan (“Plaintiff”) in

her Consolidated Memorandum (Doc. 35-1) and Response to Supplemental

Memorandum in Support of Defendants’ Motion for Summary Judgment (Doc. 42).

I.     Procedural Background

       After the deadline to “join other parties or to amend the pleadings” (Doc. 22),

Defendants filed a Motion for Rule 12(c) Judgment on the Pleadings (Doc. 26) asserting

the Complaint (Doc. 1) and Defendants’ Affirmative Defenses and Answer (Doc. 14)

established all material facts necessary for entry of a Judgment on the Pleadings

dismissing the Complaint for failure to state a claim pursuant to 42 U.S.C. §§1983 and

1988 for alleged violations of the First and Fourteenth Amendments upon which

declaratory relief, injunctive relief or monetary damages can be granted (Counts I and II)

or pursuant to 28 U.S.C. §2201, et seq. upon which declaratory or injunctive relief can

be granted (Counts III and IV). Alternatively, Defendants asserted, if Plaintiff stated a

claim, Plaintiff lacked standing. Finally, Andrew, Monaco and Reinoso asserted if



                                       Page 1 of 9
         Case 3:16-cv-00041-SDD-EWD Document 46             05/19/17 Page 2 of 9



Plaintiff has standing, the claims against them are barred by the statute of limitations.

II.     LAW AND ARGUMENT

        A. Status of Defendants’ Rule 12(c) Motion for Judgment on the Pleadings

        Although Plaintiff argues the pending Rule 12(c) Motion has been converted to a

Rule 56 Motion by Plaintiffs’ presentation of extrinsic evidence 1 and Defendants

abandoned the Rule 12(c) Motion by filing a Motion for Summary Judgment, 2 Plaintiff’s

arguments are clearly in conflict with Defendants’ pleadings and FRCP Rule 12(d).

FRCP Rule 12(d) provides when “matters outside the pleadings are presented to and

not excluded by the court the motion must be treated as one for summary judgment.”

Plaintiff’s presentation of extrinsic evidence is insufficient to convert Defendants’ Rule

12(c) Motion to a Rule 56 Motion. 3 FRCP Rule 12(d) clearly authorizes this Court to

exclude any evidence presented by Plaintiff to oppose the Rule 12(c) Motion and

reserves this Court’s power to rule on the Rule 12(c) Motion solely on the basis of the

pleadings.

        In order to comply with the deadlines to file dispositive motions in this Court’s

Scheduling Order (Doc. 22), Defendants’ filed a Motion for Summary Judgment (Doc.

30) for consideration in the event Defendants’ Rule 12(c) Motion did not dispose of all

claims against all defendants. Defendants clearly stated their Motion for Summary

Judgment was presented in the event the “Court does not dismiss all of the claims in the

Complaint ... pursuant to the pending Motion for Rule 12(c) Judgment on the

Pleadings.” 4 After this Court extended the deadline for dispositive motions (Doc. 32),


1
  Doc. 35-1, footnote 1
2
  Doc. 42, footnote 1
3
  Doc. 28, pp. 3-4
4
  Doc. 30-1, p. 1


                                        Page 2 of 9
        Case 3:16-cv-00041-SDD-EWD Document 46             05/19/17 Page 3 of 9



Defendants sought and were granted leave to file a Supplemental Memorandum in

Support of Motion for Summary Judgment (Doc. 38 and Doc. 33-1).

      There is no legal support for Plaintiff’s assertion that Defendants’ Motion for

Summary Judgment converted the Rule 12(c) Motion to a Rule 56 Motion. In support of

Plaintiff’s assertions she cites Gamel v. Grant Prideco, L.P., 625 F. App’x 690, 693 (5th

Cir. 2015) and McDonnel v. Estelle, 666 F.2d 246, 250 (5th Cir. 1982), neither of which

support her assertions. In Gamel, where both parties relied on extrinsic evidence and

the district court’s ruling granting a Rule 12(b)(6) Motion rested on extrinsic evidence

necessary to determine timeliness of the suit, the Fifth Circuit held that the standard of

review on appeal was the Motion for Summary Judgment standard. In McDonnel, a

case involving a habeas petition, the court stated only “if the court considers any

evidence outside the pleadings” [Emphasis added.] is the Rule 12(c) Motion converted.

      Defendants did not rely upon or attach any extrinsic evidence to the Rule 12(c)

Motion and maintain that no extrinsic evidence is necessary for this Court to rule upon

the pending Rule 12(c) Motion. Defendants’ Rule 12(c) Motion raises legal issues

determinable by the undisputed facts established by the pleadings which were on file at

the time the Rule 12(c) Motion was presented. There is no necessity to consider

extrinsic evidence to determine that the Rule 12(c) Motion should be granted.

      For the reasons stated herein and in Defendants’ Memorandum in Support of

Motion for Judgment on the Pleadings, Defendants urge this Court to grant their Rule

12(c) Motion. If any causes of action or defendants remain after ruling on the Rule 12(c)

Motion, this Court can consider the evidence presented in connection with the parties’

motions for summary judgment relevant to those remaining causes of action and

defendants.


                                       Page 3 of 9
         Case 3:16-cv-00041-SDD-EWD Document 46             05/19/17 Page 4 of 9



        B. Alternative Motion for Summary Judgment

            1. Plaintiff’s Speech is not protected by the First Amendment.

        Plaintiff argues that her harassing, intimidating and offensive classroom behavior

and speech are protected by the First Amendment which she alleges falls within the

protections afforded to academic freedom. The jurisprudence cited by Plaintiff is

inapplicable as the cited cases do not address situations where a faculty member

created a hostile learning environment by intimidating and demeaning students or was

banned from schools participating in university programs.

        Plaintiff admits that the PS-104 hearing which led to her termination was initiated

because students and “school administrators had complained regarding Plaintiff’s

inappropriate behavior,” which led to Dean Andrew requesting an investigation. 5 The

Deposition of Jennifer Curry 6 details her meetings with students who declined to speak

with Dr. Buchanan’s supervisor, Dr. Cheek, because the students were aware that no

action had been taken in response to prior complaints made to Dr. Cheek. 7 Dr. Cheek

corroborated the student’s assertions made to Curry that a cohort of students had

complained about Dr. Buchanan’s behavior the prior year. 8 Dr. Cheek confirmed to

Dean Andrew that complaints about Dr. Buchanan “were nothing new” and that 10-12

students from the prior year’s cohort complained and had written a letter to Karen

Callendar. 9

        Dr. Cheek further confirmed that Dr. Buchanan had “been kicked out of




5
  Doc. 35-2, ¶18
6
  Doc. 35-4, Ex. 5
7
  Doc. 35-4, Ex. 5, pp. 62-72
8
  Doc. 35-4, Ex. 5, pp. 76-77
9
  Doc. 35-4, Ex. 5, pp. 79-81


                                        Page 4 of 9
          Case 3:16-cv-00041-SDD-EWD Document 46           05/19/17 Page 5 of 9



schools” 10 and that Dr. Cheek had reported the complaints regarding Dr. Buchanan’s

behavior to Dean Andrew’s predecessor, Dr. Lindsay. 11 Dr. Curry reported that Dr.

Buchanan’s students “were very fearful of having another class with her.”12 An email

from a student to Dr. Curry corroborated the in-person reports Dr. Curry received from

students and information in documentation of prior complaints about Dr. Buchanan. 13

Dr. Curry also testified that she received a call from the Superintendent of Iberville

Schools, who advised that Dr. Buchanan was completely inappropriate and he did not

want her back in the Iberville Schools. 14

         While classroom discussions can fall within protected speech, Plaintiff’s

conclusion that all speech within a classroom is protected is incorrect. Plaintiff’s

conclusion that the First Amendment prohibits university officials from investigating

complaints of students and school administrators, recommending the initiation of a

hearing process to determine whether a faculty member has violated university policies

and recommending to the board with the authority and responsibility to remove tenured

faculty members is absurd. Defendants’ actions in light of the numerous complaints

regarding Plaintiff’s behavior were objectively reasonable and necessary to protect

students and the student teaching portion of the Pre-K-3 program.

         The instant case is analogous to Martin v. Parrish, 805 F. 2d 583 (5th Cir. 1986)

where the Court held speech made on a college campus to an “unwilling, ‘captive’

audience” was not protected by the First Amendment. In Parrish the Court recognized,

“[t]he “rights” of the speaker are thus always tempered by a consideration of the rights


10
   Doc. 35-4, Ex. 5, pp. 81, l.11
11
   Doc. 35-4, Ex. 5, p. 81, l. 12
12
   Doc. 35-4, Ex. 5, p. 88, ll. 6-7
13
   Doc. 35-4, Ex. 5, pp. 93-94
14
   Doc. 35-4, Ex. 5, pp. 101-103


                                        Page 5 of 9
            Case 3:16-cv-00041-SDD-EWD Document 46            05/19/17 Page 6 of 9



of the audience and the public purpose served, or disserved, by his speech.” Id at p.

584. Plaintiff like the appellant in Parrish seeks to ignore her audience and the lack of

purpose in her offensive, harassing and intimidating behavior and speech. The students

in Dr. Buchanan’s classroom, like the students in Martin’s classroom, paid to be taught

and not harassed or intimidated. This Court should, like the courts in Parrish uphold

Plaintiff’s termination by the Board of Supervisors supported by the PS-104

Committee’s determination that Plaintiff’s “use of profanity, poorly worded jokes and

sometimes sexually explicit ‘jokes’” created a hostile learning environment.

          Additionally, the ruling in Connick v. Myers, 461 U.S. 138, 103 S. Ct. 1684, 75

L.Ed. 2d (1983) finding that “when a public employee speaks not as a citizen upon

matters of public concern, but instead as an employee … a federal court is not the

appropriate forum in which to review the wisdom of a personnel decision taken by a

public agency allegedly in reaction to the employee’s behavior.” Connick, 461 U.S. at

147, 103 S. Ct. at 1690. Considering the content, form and context of Plaintiff’s speech

as revealed by the evidence relied upon by Plaintiff, her speech is not protected by the

First Amendment.

          A determination that Plaintiff’s speech is not protected by the First Amendment

requires dismissal of all claims against all defendants.

              2. The evidence demonstrates that Plaintiff was afforded due process.

          Plaintiff argues that she was not afforded due process because she was not

aware of the charges against her; however, evidence filed by Plaintiff demonstrates

otherwise. 15 Plaintiff acknowledged receipt of a packet and provided a written response

to the allegation that her “teaching was inappropriate or any language was

15
     Doc. 35-6, Ex. 11, Letter from Buchanan to Bell


                                                Page 6 of 9
         Case 3:16-cv-00041-SDD-EWD Document 46               05/19/17 Page 7 of 9



unwelcome.”16 Plaintiff acknowledges she was given a set of complaints and stated she

disagreed with the findings of the HR investigation which lasted from December 2013

through May 2014. 17 Plaintiff denied violating a student’s right to confidentiality

regarding the student’s disability status. In her response to Provost Bell urging him not

to convene a PS-104 Committee, Plaintiff directly addresses complaints about her

telling students not to get pregnant while in the program 18 and regarding sexual

orientation of individuals who wore brown pants. 19

       Plaintiff acknowledges that the members of the PS-104 Committee unanimously

determined that she “violated PS-73 dealing with Sexual Harassment and PS-95 sexual

Harassment of Students through her use of profanity, poorly worded jokes, and

sometimes sexually explicit ‘jokes’.” 20 The PS-104 Committee concluded that the

violations which occurred on and off campus “fall into the category of ‘creating a hostile

learning environment.’” 21 Additionally, the PS-104 Committee found evidence that

“individuals observing the behaviors were disturbed by the behavior.” 22 Further, the PS-

104 Committee found that “Dr. Buchanan was direct about her occasional use of

profanity and off flavor jokes as part of her teaching methodology” 23 and recommended

that Plaintiff be required to “agree in writing that she will cease the behavior.” 24.

       The numerous exhibits filed by Plaintiff (Doc. 35-4) and the complaints regarding

Plaintiff demonstrate her classroom behavior is not subject to protection by Academic


16
   Doc. 35-6, Ex. 11, p. 1
17
   Doc. 35-6, Ex. 11, p. 1
18
   Doc. 35-6, Ex. 11, p. 3
19
   Doc. 35-6, Ex. 11, p. 4
20
   Doc. 35-6, Ex. 13, Oetting – 00248-00249
21
   Doc. 35-6, Ex. 13, Oetting - 00249
22
   Doc. 35-6, Ex. 13, Oetting - 00249
23
   Doc. 35-6, Ex. 13, Oetting - 00249
24
   Doc. 35-6, Ex. 13, Oetting - 00250


                                              Page 7 of 9
         Case 3:16-cv-00041-SDD-EWD Document 46             05/19/17 Page 8 of 9



Freedom but were instead harassment directed toward numerous students which

created a hostile learning environment. 25. The PS-104 transcript 26 shows that numerous

witnesses testified and Dr. Buchanan had the opportunity to question LSU’s witnesses

and to present witnesses on her behalf.

        Plaintiff’s contention that she was not afforded due process is contradicted by the

numerous exhibits attached her Motion for Summary Judgment and Response to

Defendants’ Supplement Memorandum (Docs. 35 – 35-7 and 42-42-1). Further,

Plaintiff’s assertion that “it was not until bringing suit and deposing Reinoso and others

that Buchanan first learned what claims even LSU believed might support the

charges” 27 is false. Defendants have proved that Buchanan was made aware of the

complaints made against her by students by Dr. Cheek 28 and was aware that school

administrators had requested that she not return to certain schools long before the PS-

104 hearing. 29 Additionally, the hearing transcript 30 demonstrates that Reinoso, Andrew

and Curry testified at the PS-104 hearing and that Plaintiff had the opportunity to

question them.

        Plaintiff cites Jones v. Louisiana Bd. of Sup’rs of University of Louisiana

Systems, 809 F.3d 231, 236 (5th Cir 2015) in support of her assertion that Defendants

cannot demonstrate that she received notice and an opportunity to be heard. Plaintiff’s

reliance on Jones, who was terminated for budgetary reasons is misplaced; however,

the Court did not agree that Jones was entitled to a face-to-face meeting with the

ultimate decision-maker and affirmed the trial court’s dismissal of Jones’ suit. Plaintiff,

25
   Doc. 35-7, Ex. 42, Curry - 00044
26
   Doc. 35-6, Ex. 20
27
   Doc. 42, p. 5
28
   Doc. 35-6, Ex. 5, p. 81
29
   Doc. 35-6, Ex. 5, pp. 81 and 84
30
   Doc. 35-6, Ex. 20, TR 003


                                        Page 8 of 9
           Case 3:16-cv-00041-SDD-EWD Document 46          05/19/17 Page 9 of 9



who admits that she participated in the PS-104 Committee hearing, appealed to

Chancellor Alexander and appeared in person before the ultimate decision-maker, was

clearly afforded due process.

III.      CONCLUSION

          Defendants urge this Court to grant their Rule 12(c) Motion with respect to any

causes of action and any defendants which can be dismissed without consideration of

extrinsic evidence. If any causes of action or defendants remain, this Court can consider

the evidence presented in connection with the parties’ motions for summary judgment

relevant to those causes of action.

          While Plaintiff asserts denial of her First Amendment right on the basis of

academic freedom and denial of her Fourteenth Amendment right to due process, the

evidence presented by the parties disproves Plaintiff’s speech falls within academic

freedom or that she was denied due process. Any claims not dismissed pursuant to

Rule 12(c) should be dismissed with prejudice by granting Defendants’ Motion for

Summary Judgment.

                                              Respectfully submitted:

                                             JEFF LANDRY
                                             Attorney General
                                          By: /s/ Sheri M. Morris
       CERTIFICATE OF SERVICE                Sheri M. Morris, LA Bar No. 20937
                                             Carlton “Trey” Jones, III, LA Bar No. 25732
      I hereby certify that a copy of        ROEDEL, PARSONS, KOCH, BLACHE,
the above and foregoing has been                BALHOFF & McCOLLISTER
served upon all counsel via the              8440 Jefferson Highway, Suite 301
Court’s electronic filing system on          Baton Rouge, LA 70809
this 19th day of May, 2017.                  Phone: (225)929-7033 Fax: (225)928-4925
                                             Emails: SMorris@RoedelParsons.com
                                                     CJones@RoedelParsons.com
          /s/   Sheri M. Morris               Special Assistant Attorneys General




                                        Page 9 of 9
